        Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 1 of 36 PageID #: 1
 RI ONER'S CIVIL RIG TS COMPLAINT (Rev. 05/20 I 5)
                                                                                               FILED
                                 IN T E UNITED STATES DISTRICT COtiR AS .SR.NDiSTRicTTCOURTxAs
                              FOR THE                           DISTRICT OF TEXAS
                                                                DIVISION
                                                                                                MAR -12018
                          2M'/-
Plaintiffs Name and ID Number
                                                                                      BY
                                                                                      DEPUTY.
   Aittk
Place of Confinement
                                                                         CASE NO._         fSco
                                                                                    (Clerk will assign the number)

                                                                                             c \a fr
Defendant Name ana Address

 MoJ mJaA ' t/jW lil$fk > IAJ/ $MU n*Q T                                      t- j] M
Defendant's Name and Address
                                                                              Jj Aajjz 1liaII OJViA £iMjj lsQ_
                                                                   5
                                                                                                               f      QL-,
Defendant's Name and Address
( DO NOT USE ET ALA)
                                                                               A C-tyJ3                     JcjU-L
                                     INSTR CTIONS - EAD CAREFULLY

NOTICE:

Your complaint is subject to dismissal unless it conf rm to these in truct on and this form.

1. To start an action you must file an original and one copy of our complaint with the court. You should keep
a copy of the complaint for your own records.

2. You complaint must be legibly handwritten, in ink, or typewritten. You, the plaintiff, must sign and declare
under penalty of perjury that the facts are correct. If you need additional space, DO NOT USE THE REVERSE
SIDE OR BACK SIDE OF ANY PAGE. ATTACH AN ADDITIO AL BLANK PAGE A D WRITE ON IT.

3. You must file a separa e complaint for each claim you have unless the various claims are all related to the same
incident or issue or are all against the same defendant, Rule 18. Fe eral Rules of Civil Procedure. Make a short and
plain statement of your claim. Rule 8, Federal Rules of Civil Procedure.

4. When these forms are completed, mail the original and one copy to the clerk of the United States district court
for the appropriate district of Texas in the division here one or more named defendants are located, or where, the
incident giving rise to your claim for relief occurred. If you are confined in the Texas Department of Criminal
Justice, Correctional Institutions Division (TDC.UCID), the list labeled as "VENUE LIST is posted in your un t
law library. It is a list of the Texas prison units indicating the appropriate district court, the division and an address
list of the divisional clerks.




                                                                                                        Rev. 05/i 5
Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 2 of 36 PageID #: 2

   FILING FEE AND IN FORMA PAUPERIS

   1. In order for your complaint to be filed, it must be accompanied by the filing fee of $350.00.

   2. If you do not have the necessary funds to pay the filing fee in full at this time, you may request permission to
        proceed in forma pa peris. In this event you must complete the application to proceed in forma pa peris
        (IFP), setting forth the information to establish your inability to prepay the fees and costs or give security
        therefore. You must also include a six (6) month history of your Inmate Trust Account. You can acquire the
        application to proceed IFP and appropriate Inmate Account Certificate from the law library at your prison
       unit.


   3. 28 U.S.C. 1915, as amended by the Prison Litigation Reform Act of 1995 (PLRA), provides, .. .if a prisoner
       brings a civil action or files and appeal in forma pa peris, the prisoner shall be required to pay the full
       amount of a filing fee. Thus, the Court is required to assess and, when funds exist, collect, the entire filing
       fee or an initial partial filing fee and monthly installments until the entire amount of the filing fee has been
       paid by the prisoner. If you submit the application to proceed in forma pauperis, the Court will apply 28
       U.S.C. 1915 and, if appropriate, assess and collect the entire filing fee or an initial partial filing fee, then
       monthly installments from your Inmate Account, until the entire $350 filing fee has been paid.

   4. If you intend to seek in forma pauperis status, then do not send your complaint without an Application to
        Proceed IFP, and the Certificate of Inmate Trust Account. Complete all the essential paperwork before
        submitting it to the Court.

   CHANGE OF ADDRESS

            It is your responsibility to inform the Court of any change of address and its effective date. Such notice
   should be marked NOTICE TO THE COU T OF CHANGE OF DDRESS and shall not include any
   motions(s) for any other relief. Failure to file a NOTICE TO THE COU T OF CHANGE OF ADDRESS may
   result in the dismissal of your complaint pursuant to Rule 41(b), Federal Rules of Civil Procedures.

   I. PREVIOUS LAWSUITS:

       A. Have you filed any other lawsuits in the state or federal court relating to
           imprisonment?                                     YES                NO

       B. If your answer to A is yes, describe each lawsuit in the space below. (If there is more than one lawsuit,
            describe the additional lawsuits on another piece of paper, giving the same information.)

             1. Approximate date of filing lawsuit: jin A ik                 / i f /M $ &)

            2. Parties to previous lawsuit' __
                 Plaintiff(s): ' r xjyJp

                 Defendant(s): Q&mJL
                     tfL   klA        JYw           &£>            »     ,   /     ..     v    «¦     _«      ,
            3. Court (If federal, name the district; if state, name the county) W&AAohsn t J Mfu/ T'

            4. Docket Number: j/y                                    J\ aJjt/ n «.

            5. Name of judge to whom case was assigned: jjjJJxo j iA*$.

            6. Disposition: (Was the case dismissed, appealed, still pending?)

                     OAM-lbiadl                     ( r     AM           . AJLrtu[r/txk/,t. *

            7. Approximate date of disposition: L . ? /9 l &S)

   ATC 1983 (Rev. 04/06)                         Page 2
                                                                            - r /7t >
                                                                                        £
             iy 1? fr# ry_ fv'i t • ¦    y tf& r (/yz   %   f 4ct 7r*z lfc>
Wm f/ifr      Y1        yfip ' n        p v'/   f @Q//         -    ~~-
                                                                                        r
                                                                      fib/(     y , y
                                                                                        '6
                  pfO         TfY& <2>                  y /f ro       myrm          •
 w.
                                       j T  ryi ifrj < Y 'A /'S
                      rP f      'm p y ftivwjjf f&W-~®p
                                                                                        ?
                                                                   'i v <rfvp
                                                                     /* & *?</
                                                                        ©     f e
                                                            Wppf E bl
      Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 3 of 36 PageID #: 3
    Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 4 of 36 PageID #: 4




             Jyft _j jii \

    CmsJh'fo m iJjkn bh
.<



     / ClA    l f ~ 9 <J j //f / n A        aJ fii/   AJ     A j   b /      t /\£4 j tjdz Lf\!t, I

       J     /d        ce,-,, U J'l U lowM G&t ' f<<:i ':iG>[i Gk                     yiex z G -

                                                                                     \SL V / j2, UiLiS j

                 *6k              \J        jKayy                   JidLji                          J

                   <9        *    -jik            \sULue is y                                h*/

       , - i)      i     Xi&jj hje       AOfP0/            )j j J jGk          Jj't£-,ty -A

           'D&O nJty A*)} &0J*} 5 (j ifx, I o/a                                       Pxjh fJ
       L /    /t   v) , i iu     <Dw Jf & / ykk . QjJjv &iA -1 £ jl

                                                            J vtS.&h) &J;            S ) J sl1 J /\&d


    l / jts (u      /yi fi A/    J t / tS> i'i yJcbv >
             »               *              f         V            */

&l/fc 4, .£j M ?\ kJ                J j 10 &QI ,/        <Asy~)

'Ao -j           ey c-k?ii--L U<?t iMd ( J i i -AMc, feej f
.       4 \s I P cisiri } eg 1                   AJiJJ v           ib Jr         aAst            Aj b

iy x-          , Qy\Asu w                j' &b        oesk!)i>soli               j
K fY &fvfc J                     C bvrftfckJ               tJt     dlsvt t*               s-« <
                % C-M . <M\ A-CGeJiu q. ( sUi Xei                                fi i &QC <J

      Jr ~jfcJs > Jm s fyy / /ofdo /
l k        « T * k & y\             /fel/ fa <LMuffi{} iZjJl$ 1 /                        /~ aJk/
tX, fn y yo            ~ J JJU J „ Jjj       m & £j/\jiJ"q A§f- f )A WddZf &&xx .-

    f.A Xt*il9 Qf                   <       &£)f X $ y ylfL .J]
j/ rx c~        jc lsjZ lff11 y> fy- f/tk   <Xji (dJS/MXj dj iuhu /u€ a > (£./) , i-                       bd)
    cj yiy / f' t a- ff yy           Ad ,JiLfX, fyXJ

y     tlA Xjyd) d)iyf( d,. C&ij'XAjyy- i'Jf     / jAkA 7m ~y y ybJtyLj./X T

     khk JtX /Z 1/ -2 ) p J i Z d d tyx. y/dkjJ '£ §S£ii$ X& (j' -J- MA                 tS h/ Jjt tXi,
Hm)r/M                               n          i     '    '             '
                                                                         e rw \7 ry   Q     Znf
               f h- -y      sp    {p 0 Yf >               pr sTD             *>2   rtNV
                                        b t jj- nrffiC. ]f rf Y ry
    ff lfp1      ty '7> "         Ql// r *nr ff v              rpnflf *($/°1?l$(/
     f          sfy                      tv                          /          r           /'
iv rfr/                 (         fcr               fC r t 4                          ri _
' i2      rrr g    ti    K y /7 i %/ vf
n     J /7 -2               yiy?r               f ,f £: ? r(j& -p1
       d/          ?                     <           /7              Y/'
    1>JP                    f/-~                    i £e W ppf
rvt - r* * y v              c     nt? if         9      y o> f , -nn y                pf 4
rt        ryflny                        &_                v          (        *       0           /
    Y PiA'py            pA/P       p Afr f /              rvt /          / rP frM?Y
                    Q s /jf/f            £YO //& ppl vjo ? yjY                            m
    t V ) p p 'A            pA syl                   pr        (0 l                   w
  t trn/ £> pp V' if pC g p   pf Hf 'jjf wf U
ffyvi Y fJ Ar  9 nw pvf jjjjh fpYsy rry yO i
gfrrgyf iy fY pp                    f     f /KQ * p & ' \                    £/7'           ?
pyrypy » A nAyx/ h (/                     pv r-4) sfA9-op-r                  p v My yr Yi
                        C/»v-* /vPf7 * v O f y?) '~ f f /Vf) ' j/j AY''' A         pAir '    9iyvv
                        Yfyfr/J     pjr p A vrn                fpf p > A*v fajpQ                  r
                        WK®y - d ru kmjjp \ Pf\ p\AA>~4ii{/pp pfvi 9D y nf W? > PA
                             \-
         Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 5 of 36 PageID #: 5
      Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 6 of 36 PageID #: 6
1 PLACE OF PRESENT CONFINEMENT: J/                                               ( JtjsoAo F/tt If/VJ
 i. EXHAUSTION OF GRIEVANCE PROCEDURES:
     Have you exhau ted all steps of the institutional grievance procedure?                            /yes NO

     Attach a copy of your final step of the grievance procedure with the response supplied by the institution.

IV. PARTIES TO THIS SUIT:
     A. Name and add ess of plaintiff A




     B. Full name of each defendant, his official position, his place of employment, and his f ll mailing address.

        Defe dant #1
                            Jfl llh : f..Ai)£Q_                                         ~7       - Oo

        Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.




        Defe da t #2 . Ci; ? Ae t tfa ataaV/tVW / .V/AAtA                                                        /. A
                            AA / A / 3 . F/h ss tt j ~n- mes
        Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.




                                            uht          3060 m gf/t/                           otjos
        Br efly describe the aet(s) or omission(s) of this defendant which you claimed harmed you. \4/&A             J hJ
        Sits ViflAijjM (U M                       j zJmj l t icaki fre t &/) - c c/                                  .
         SV , jy tAjui                Jf JU Pf-<                f f     Ais&) Ismt &h
                                  J *     - . j         J     fsxli        A /        i! "       /       \


                     __ iA flJ lso PM25/ J
        Briefly describe the aet(s) or omission(s) of this defendant which you claimed harmed you.

                         />          /xa               c
                                        &              x4JdX Jl          tj A n      , <a
        Defendant df ~ <P&w IJ/ mw /
                              JPc j /f j&am4                                   A {                 S.
        Briefly describe the act(s) or omission(s) of this defendant hich you claimed harmed you.
                                                                           MMaa M Jm(Wu£ bhpMjMMbb C/vfcw<%
        O MA              of           /}/)       v>£tkj MmuajJ 1                               1        /               '
                                                                                       va i / ! in n


                                                              QJjlJl i-IL? }            AY)

                                                                                                         fe I
         Case 1:18-cv-00094-MAC-KFG
                .  /                Document 1 Filed 03/01/18 Page 7 of 36 PageID #: 7
V,      STATEME T OF CLAIM;
        State here in a short and plain tatement the facts of your case that is, what happened, where did it happen,
        when did it happen, and who was involved. Describe how each defendant is involved. V ou nee .nploj.yfi
        any legal arguments or cite anv cases or statutes. If you intend to allege a numbe of related claims, number
        and set fo th each claim in a separate paragraph. Attach extra pages f necessar , but remembe the
        complaint must be stated briefly and concisely. IF YOU VIOLA E THIS RULE, I HE COURT MA\
        STRIKE YOUR COMPLAIN D n/] -




                                                                  )/)

                         f




                         lA . Aa A




VI.     REL,EF:
        State brieflyexacuy what you want the cour/to d& for you. MaKe no legal arguments. Cite no eases or .
        statutes.

                                                                                                      /L Asd*




                                                                                                  CS -Veyf .

VII
        A. State, in complete form, all names you have ever used or been known by includin any and all aliases.




        B. List all TDCJ-CID identification numbers you have ever been assigned and ll other state or federal
            prison or FBI numbers ever a signed to you.

                                  £fa639( Aj 9r s Ztr>

VIII.   SANCTIONS:
        A. Have you been sanctioned by any court as a result of any lawsuit you have filed? __YES >/ NO
        B. If your answer is yesA give the following infor ation for every lawsuit in hic sanctions were
            imposed. (If more than one, use another piece of paper and answer the same questions.)

            1. Court that imposed sanctions (if federal, give the district and division); fjjfr
            2.         Case                      number:                             :

            3. Approximate date sanctions were imposed:

            ¦ , F! a VC tlic   Sanctions been lilted or otherwise Satisfied? Jfy

                                                                                                     Rev. 05/15
                                                              4
       Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 8 of 36 PageID #: 8
       C. Has any co rt ever warned or notified you that anctions could be imposed?
                                     yfr       •          iAM o
                                                                                                  YES      /NO
       D. If your answer is yes, give the ollowing information for every lawsuit in which a warning was issued.
           (If more than one, use another piece of paper and answer the same questions.)

           1. Court that issued wanting (if federal, give the district and division) (_   J ft-
           2. Case number: Mjk
           3. Approximate date warning was is ued:



Executed on: ikklttML
          /date




PLAINTIFF S DECLARATIONS

       1. I declare under penalty of perju y all facts presented in this complaint and attachments thereto are true
          and correct.
       2. I understand, if 1 am released or tran ferred, t is my responsibility to keep the court informed of my
            current mailing address and failure to do so may result in the dismissal of this lawsuit.
       3. I understand I must exhaust all available administrat ve remedies prior to filing this lawsuit.
       4. I understand 1 am prohibited from bringing an in forma pauperis lawsuit if I have brought three or more
            civil actions or appeals (from a judgment in a civil action) in a court of the United States while
            incarcerated or detained in any facility, which lawsuits were dismissed on the ground they were
            frivolous, malicious, or failed to state a claim upon which relief may be granted, unless I m under
            imminent d nger of serious physical injury.
       5. I understand even if I am allowed to p oceed withoutprepayment of costs, I am responsible for the entire
            filing fee and costs assessed by the court, which shall be deducted in accordance with the law from my
            inmate trust account by my custodian until the filing fee is paid.



Signed this                            M day of                       20 M
                     (Day)                 (month                  (year)




WARNING: Plaintiff is advised ny false or deliberately misle ding information rovided in respon e t the
above questions may result in the i osition of sanctions. The sanctions the court y impose include, but
are not limited to, monetary sanctions and the dismissal of this action with prejudice.




                                                                                                  Rev. 05/15
                                                          5
           f p uptfjQ JMro ftrvjJ} ,/T f Y , 1WP'
wteQj?!- rur r Q                                r             rpJ              P i? / tf* }
 yimwnff)                               '*                                                  >mv /mf
 i   i y      / wr(j fj)            '   r>m yw vm ti                          a
                                  fi sTli Woj!y ff °*ftjf ~
 pfftp' jr          v r yf )r j ' f /£8f 9/ @ i /( &
     Arvfpp rp rYi v                                  rryp / ke                    f v ] < ?
                                                              Jm -ff r                     rrf p
                           T/ PY Y9 'n                ff       fpff § fP r%Wrr w w>
                                                                                                           7
     > nrw          ypp ff       p myV /y ypftr                      ry lp        r v f p wt v
 f yyiyn/j** r                                 Y r0p /                                     w 7
 /r# pYY/ /f                            f )Pf P
          pr i Y/1 p y (p y7'2pvi vy'/<?              fyryy'V'
                      tl       -
     p-Vl f) p V,
                            P?) P                                  ., ,           -r
                      (pn fp m ytpz          Jl? r-- uwiS )           fr Yt 7y m r ff*** < fri
                     pr   ~7< yi'tr>ripp .% (rf Ljp    i( f p' Py   PJ?   f'Jj'Zpnf fY r   - p yl P'' fy
             'wr-                  fc          \f Yftff'4 <hf yv W<nyr>J?/r
                                                               ry pw rv f w€               r A
                               t        9           Vb              f      &
       o pp p /W p , <&/ P yojt */ *Wf*
      '     ppY Vf3             ppY          pvrfnpnrp                    trff
                sisidt H*ihTfA,(y QOf>
                                                                             rw rs T fw
                                                       rs -   vy
                                                              ? 0
                                           f
          Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 9 of 36 PageID #: 9
                                                • rsn -v f 'r'A/fy                         -A yCS j JJ' irf mf ~L)
l y eV qr pl r~tJ:f-pp         J'rr jjjlj    rr\/'ip- , trrjM (/                                      f/rl rs/ /s.
                                                        lp' '4pfinfv                          f r ( f
    pjv fsp !q ry r                Yi           J r WYK/x? if r ', *                       pppj
     p o j "r Prr ' *1>?f (                 ppy rvy? p ~.                  - r r yg y* p p v          u& .
    *i    *f>vn?y\/           n rr pY yr                i    rriYpSY'~p p f                          ? f~
    f    •--    *     f   *   it         ?      ,   i   ¥      -       r    9   ?      '
     ei       -jCjY ' f/*TiTTi/Yoipr/1 , n * tf¥
                              f v           f           -
                    -inr-irtn' pFb - v
                                                             Ynr r'rT M           x    ) -jyv uY Jrw
  ? (-       .V pr pylp £p~ r                           j Zp tfyY'               ? t i         fp (r (r
                                         *rr(jy }rfjpvjr >
                                                                                                              i
                    - 4 i        rrYpp                  -p           - ijj) ¥j p y                   l pp
-        ppQ ppyf pply/                                               pp i             yjY'                 f*
    p     'r pA/          £    v/r « rpy#y Yf Ipf 9                                PVP               v i-
        iy'< t/*ffcnmf'- * A-ri n W                         Vpfrpy f &Q pP                 jnf vp
        ~ svi£f )Qpp<A fp/se *><> / frff wr
                              Y                 W/p Anrvtfri 'o'Fp y                                        Q
pz /ry               {j'P iijk jpfoFn                                 } v /       li       pY' r T
                              YP &f /fr Vf p pp i                      r     ryvY Ypfrr /t Vi lflpyfJ
 Jf* tYs>aci 4>                                                      p py'Y                           ntr
  f trrzrj) j <zprT> Yp ppJ} rY -Yf y<?r Y jf 7 &y yr fr1 ' ,
                                   L//j? zwyp nprrvQ                                                    (/p
     , ppir p jy           p. pp 1 r p§ YYfw Jyynr                                 y y yurf !y pr
                                                        ,~spf< ipli lfrr f Y .fr                  p " jyy
                                                              zopYpc)
                                     Y( fWWm f= w                                                4...
         Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 10 of 36 PageID #: 10
              rr*iA            r)/           t    v                   f    r         j
                            i nry }) Jj r} 4r0 - r7ir v j         grgg 'frjj vzi
    /pgy 4>wjnjj3>                 - •    ¦f/ t4       /W'Ami ?' \ 2                  t ,
     *yrrtfaf*+7~@'Zr yG yJ o r x ' -y /, prp y H c pry                             tycfy
/    p        y,     \j    fy A        ( W f7rv v$ A                      y
                                                       fWs t w 'flWe
                                                  Wf'/JrTK2 in79 ; s/¦f r (
                                         f                   slip                   I
                            fp fr* fr f ~ Asn n/\/ - yppr/
-pAn? .rrrv
          y -pr y - 4r yy n®jf
    /frwyvy pwyyy < «<         v»a       rpq&vy n >rr/~*tn f - r nff -f * f T)
                   X7 nyfpY      AWpnAt pp v4            r Ar rv pJ     py/ V ytyyf nr
        O - siyp p y ,mpg rji//-m ~jo rt *v9v rmp yn ypor .rpf r
                                                                  /tp Jpl y . mnry'f sypA
                                                        .                 }
     y . pm ryA     n ry ]p y fY: y*ms r u        y xf 4ynA4/       Xkpxr       A-j py
         my nr . yp ( nv t rp              ¥>/     - #t pr      /nrv r      prnr v-
    '$m/, ~ u 'rwim /i>m w «m j 'Wfi' fwj
                                                                              "ft
    v   M/ L-      ik* fpp j   y   p fok vpp-tppno               fpp v<f
    ypyyM     'yp yM P'(f-Tx   (f xy pv jip Ti m.frrA/P yprn'prp-t y f\/ i jr   u ls\r)0 V
          Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 11 of 36 PageID #: 11
            f      hrf j "rpC- 'fovo                                                    y
    jU y (y            rs   iny         yyryji          <y           v -irw r         . y r
    l®f(>       t rrfp y * -py /    jg \ ?f V ''    yg          7 M p r>%/      Sp yY *4/      trj/( * P
            y yjjy x/f             n' y     U Q * pjyp%P h ' t /77)m.p
,r' f? tfff) y pyp-'   1    ryp)
-    yy r         -py-       /(>,? p           > *\.yy,                S   OyplV ff-+* p r f
       rt r A          nKsi/f? yT a/y ' ipyt                                          /d   rppj
                       >m                                                      yr\iG 'fp ~r r p g
' / i'fy '7 *7 %c<?7f(: \/f t (?j rmf a             y       f    n n vy yi yyvyypwj rnt /typtrs
Z pm /ti if tp? t( Y ripi 4 n/P             ( j rm finfrf rP - mrmj              Z    W VP . nrk/
-jyyyO tV y ffV yy y yYffprt /' <pyf ftppV / rtj &y p jf y                                 1 m py
 pm                yni        p         \p/         fyy              pp f vrr
    y -vp (Y y                     rv     p     pmM ?YiA>                             yy       ey*
    <p<r? uyyrp Zwpt?                     pr    A - T            -   yp my 'rry       y p rf
    «           rw             -y         rr            r>pv                    v(>             ry
                                   y ' idr          ' Z/yo) iip b > ywr u py
    A    < 7 -®y> ypAj yy> d y                          <        p A   v i      ypryeym 'lrg y
 yr xv y ypp' S y Ayir 1 r                          rnZ PJdf               Y     yt        rvyZ r
                                               ' Wrf Zy yj • y t               yyiZ Z
     27%) Z> d j 4 yfjfr7? ij
                       'm/yy =       s yrd p        -Trarr? jnnY 1 pymnV A '*vsyV y
                                           rr**S-                                 ~w*> - ~f p yryy.
                                                        r K?0O
         Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 12 of 36 PageID #: 12
-wn           -tt       r          p •»             /7
tr       >- ro , 02                 jjC    V y f          yy t
ygg misrd              /f       - O r sy mrynf yy- y m- y ,
                    ijyf            fptv             y <           7
       /7           -f              -ffr              f       t/i              r
                                                               f &v ryWOrQll
                                              'ir z
               fSsM MZ i
                 177                                                   i yf
               wf     r         m vy 1 y Ypfr                 p -if            prnr
     ? Atz
                                  W f ypprryml_ypvp,
                                       ~        '     s        yy             V
Wp ffO fy j
                           fJ                                 m.
                       f//u<nfi
                                *-j             _        4
                                  err(7       afZyz prto           r   xA fnpy)
yyr              b          j     rr      yyy             f            r
4r                               y                  Yy                         ri
1 &-           f-/     t        rrjwp         ifcvppi ti jrrfh **'
 v/ftrY >           f}YP          / *%t*m"m/vsY' r i/WVfJ 7
                                                    ( S      YPfYfY Jr
                                     f H ff P
                           ? j    y -K    '     /
                                                                                   w
     Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 13 of 36 PageID #: 13
 Mnt          r           vfa ( 2rpfgnp(                                ff       Anr         f yy c               Q
   l*Tr 'xrl>                                            fe- y g)f
 (jpf{ ) ~ y~ y                                  Xf              @T p? f                         \MTm v
J rvi/l-' ify p rfvj fov!' , vjf/ K yjpy 1 f ly ' f9 n mr fr / j- yyp y ~ -
                                            fp ' nf¥: /i py>¥rvfyy ( nr9 r /9<)
                                                                                             f]'<¥Fy* *fn*r
                                       fnrff j, ', tpP / f f ( -             / Pnp
/y       .        ...              /._           .       #    /     .       .
          . nf wrYr                i
        nt ypv              Ptr - w        f i pry f .
                              ' njrrf y      p i r (f <hw ff n y r!p, p' f / nr                       si f/rif
              ' Y i Ti
/jpfstr- tps. GS>
                                            ''       .   /   "~    *    /    -   .   r   f   f   '   P    V   '
  p yv- pr v                       'sfp '            fpy         jfaJ' {f        y y         / h <* y.r<w
  P       rr ay / '<A>Pry nfm (y t/nf.                                                               pp/ip y
     09y> pr&                                                r      & yrppf                                   p
                         V r t/y
                                          f(PP '~                      r y)/ &                   i    f
                                                                                                     . Vp
  j$tQ jl}(f K*                                              Yp -                        m rr        * - Y pt f/
                                                                                                     T/vpr d
                                   Seidr             XJL. j JjsFlP To
                                       ?*?) WM?fr?9 fl wlpn if 0 ;                                                T
         Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 14 of 36 PageID #: 14
 jf     f avl 9       pM t yf-ftv ffl&n V'f> f                    v-inp     '-t / -    r f
  r J ryp f 4rY '** *?(?]p*V lS£p+*p**fip j i of Jne>r*V                                     ff
 (s/q£        jh             ' jj d? ' lff> (
             nrnsrv Q        r    ,rjr     )   j   wc)    -*10-
      j ?vviMf0Kn*rp -fp f'f '* <fyij[prvy v >> ftf $»'
„ ¥>0 CvYdy ''- n w }              '0 jL   rp4 p ppfYT v 'rf / tpp ?% r / rf-
  ppp o c                     '      pp Xf if                '    * «r yf
                        (f 0j Y?v          fr 'op, Jfr f ftw jp ry i ' 0,                         *
        p? x p i       ffY -n0 0v
 fap&piyv /ir          -tPrY V ??                  *yqp4         r0 rrrfr      p      c.
  ' '    ny      /YmY             ybp Jp                 JP P p yr nr p /
 mrfj 'p -mvf Jp07 rrfi rv' y Hr pp ) ( - 7\       r '- v, i 0' Cf v0 T ? f-0 0p> - ir Q
 'SqU/k ~)LL,.¥ -Jn ? f / fr/S MJ r* /' &' ?(f * Yx7
w r/*     i Wi
                         fppyprpv y 'Y p- myi                        p*n? .m y/y
                                         ypp fY        * tS/or    // kk? fF®       -py f w
                  00-! p >vY *yy ifj) yvyp /?fj~ 0                 '0 {   p ifpyfryr x
                  0F 0 0 f£/ y>Y0 \            0 %vi p?0r fij *0-1r r £fyy} >
/ ?$ 0MF 0         orp ' j
                                    pw vf
                   £> Mm0 0~ jC O -000y. 0-i r r
                                                                                        If
      Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 15 of 36 PageID #: 15
          (l a Mgwi iiaiB wi     i">ii| »3 wqWBWy)r g> r '                       r p f rD An pi/m pr tiV
                    r     ZryW r                   y         p p /f            Wpp :f       l>7           g
t f/zfS   (j f/ 7f p p r r m& pp ! -(Yfl ps-pf % p\ p,p/hp)-p r f-V                               * V rr?
           tpvYn * jp ft ty ' pf ffo                                 ptLr ji 4v pprp                      y-
    y p rFpnfp fYr pT P py                               9       ?         pj~      C>ff   p h V         Vj
                        ' - 3          yp          jf>* y ?yD - %***™ 4f
          - pp> 7 '9          y y              J* tp > rrffi                     >« frM     qmi
            pp p -pfp y p pprrv a pm) mr ' pjr> jj ' D                                         ypp "
           mrp           nmppppp                               p           - p pyprpQ
                pt      pspm           f in» 4p rriYp                               rp) "vp- f ig
                                                                 mg tppv '          pf mr Q - pf- - V /    i
                        pri ft Mp) *paiYpYP?xrl0*7 p pppy Mispj                                            r
               Pn                 ~&                     4       p         j   /*    d4>
           rt p Jp pd        ?) °s rj®v/'pr               i77 p             {p) 4 [p f tfWLh -pj p '
           Ppn pp'ffmtmpi-rp. - 0V                  fl     y          pryp A nnsirp prfMA?( ip
                         9 fn 3 rv YYC Ypp rv- W , yf
          T-t ty t / jPyPT70ns ( w -
           S/pvk                        \Cfi   / *77 '                     y Jtx Vnnr 1 ) p hryj r y p vrYlp
     i > - ro $          Y nf fbv ryy *•                                             AP
          mY ' rp pp ' pp              y 4 pp rdp p mm y fjrsrrw A                                    Pa
                    '1 --fJ fmrl4 wp p j pi pypY                           tpf   'Jp rwjf fejp jij>J y y
          Ypp7' p-w          -vm Jjj jO j Y                       Jij\/ /p Jpw jY/Y rt r Of
                           ~7mu-yjL.'p wfff-hlsej/tp oyaf
                    jfr pp IppY                                f ia W Tl T' vi
                                                         {> -w.- * ? }()
                                       trpf. 3f f piffj/ pfi'3                                      \y
               Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 16 of 36 PageID #: 16
    t   rp      fe r ql -        wkr ' ' Y f/S / Z® 9Zl                     » f6£fi> QkfQf ,             9 rv
  pv          u - yrmY £j(7                             V ~> ¥                  tf/?            f mZ
   my         y    *47zpp f               fl)rr?9 f'                   ff         r n          fj jCV
  py Y £rv                 ,f     zy (p          j£        , n '(              t* y       f jp on/p
                                                                r¥pfP?      /ov/fV,
(/ m    ,     PYPA          S i   or,    pi> p                 r- &v :       l&/z     v%        1!   /     =*
        p    %    (    *y>r\ m gAp (                   a vn/y rr i p /v p jv y                   i j r® r _,
             -v   y-mj          * <7 *     y#. '- r , F4 m'f/7f () 9g                           v rrrp rv
  rt4 r p         Y'       r <r lpY      r xf JZ               7)      fj p- pyr      x -        3
mfmyp fpY             ym f        py Wx} f a? nyr / ® fTryv 0 ' i ff "                          ru4rry-£i
                                  '(zr-vr Cg           r             ryny -y
  yy§Y YP                  'ZZ% f'y' t,           ?p           ff     "      r'rff rL ffQr
        1s            opvmw                 w Jfyvyfy',
  YrY /p uy                Yj YVr H YY f                 r p (Pf            Y         t/fW           nf7 /
psrmfu vff' f r m Y              ?<>     i q i /yy p yf'P P ' Z v pfwX/' Z iAV                  pmp -f      ryf
  p p t pf v Pv                    Z f y c*                    jypr®hp pY - 'j~                           F ~
                                        1? X(:   [l ! [/ r -   i '
                                        ytr <tt,                                      l jrv'               mrp
             S' ' hy 'rteAy> /-£yt-P
                                (P M'£7
                                     - yr?   f ryp ( b vp/P Y
  Yypppff              '          t~rf¥ <> rm                        ' >rjf YP rr < YrHr rRpY
  y pZ          ' yr ppYP' Z pyf Z? P                                ryp rr r SA fwf -j                   mp
            Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 17 of 36 PageID #: 17
   7    tfj3         rw mfY £¥W                           77
 r , rx Y y Qj 0 f ry -(pYdojf
  Y0     > f         30 0- I           ?       IfYt    i ?       3p Y         J
-iv W   \?    7 v        f   P   pyt-      rpz   'fW    Jb
     {Sb itlt0$toi Jrt*9ci' t) pp rru Y ty pppry v ry                       yp r/
 ~j 4 $ r {/ 3> llfpff !?*pr        ey ) p t'f0¥       /'W    n f pp ny        'jf
 "(fiiS ooyto J rh £J ° 'S/ otJ                 s S osiov {s r mm               0
                                                                  l$* rw (V
                      Jpv rp      -ft ) ggg      Tp?0l/>      yp /    V rppmp
T0.9       r 0 9       pv fl      h '      /   pp9      fm v
                     0f03/lfp / l y0n nre °fw ?jl-p _ph
                     ~® cepyf p r                        J M/ rrry f
p0rp p    pJ p        yp     ppvnrr pArp 0 r>                '/j/ym? y        0
         m                            yt               c                  p
    Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 18 of 36 PageID #: 18
v y i/7ft' ryFi mp/ rs w jp pp? w77
                  </ rHf              J     vrrmf             0>/J         -J   vn      i/    f     XpYrJ
                                                                                                               yt
                                dd/J nryj                         *     f 9 >rr*l
    i/                                   V +&.
                                                                                     r
                       e
 9 / v y JAr                     / -f rv          sjrv yd pr i r                 ye j             ry    J y " y
                                                  vr n4 yrj /w ( m                       /7§        J /? .nyf
 -¥?             > f] - wyv 4y> fy                        -    , - Yc/          vnQrvy v
        y    r    yt /      r    f   x y. f~         **    &      jjy
r-tv ) v ff~fy         ?rr7r
p           p rT l./Q'f x<f                       • « "//i? /f (Kjr               Y /          K'f -      Wr
         u A v r y                   1     (Aj p run wd]j fy J ar %f                                     y r y,
 '           1              -        iy          y     -          v       ryr        f       y      *      x
                                            '    &y_< * -i y tAcy                                 ywf
                                     *r-q       /fyy      re * Wr wyw(y '/fQY3 y ff ,p mY
 spr/y ''pa<ys* 3nr>r W yprf' Xp'f !                                             Ar rmrr p p                  jr
                    OkS Ct ¦ l{jJ. YPS                                      fi IJh rmn/ry • y
 « jg (//          r       rppX             r    / trr        v       w   / /v m~        v
                               ypff'                 y fyf j                    / g          j'
     rv imfovXtyyriY ' U r o yy*>&Z> IPyp nysv -pppypPp                           ?y$> -X v fJ y         rPy y~>'
                                                                            ryy.Y                   pv        /r '
                                                                                ' } O        p p'
                       ev n r            S? pjrv ' vy                 rr x fjjry-O' p *           y DO Y P"
    t        P KA/              rry p'-           > p ) e*fpyY Yf-                      u @pwc> ypv
                                                                                                          >
            Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 19 of 36 PageID #: 19
                                                         ?    r f y. J f   vy ) < inflT ~ < Y f >
,.} i( y' m -             y d * '(P 9                wmm smm                     am
 pr gy       y   ?yyay      fflW7        n   y y rw          f &fy       ( W    ~*'n/     f* fTy
    &            +rryp- {fln p                           i rry                  >"M/Jj
    mrpYY                   '   i   rv    nnif                  *"rtrtn?
 rj jyywf '      Qcy'~>m> y -Jf& r-ff                yp'       f-    1 /   ,    ct, ,-/r*     3?   -
    /mrtfr nrjj! - ff f         ' '< ?{?iJ y> v y nxnj p rr y U )                    yMr ur4m
~fyp ~b/ ftfrrjpnrjf (JP*™ Qvrtiy ) J r/ t 4 d o > { ry i Q yr fj
       nf3y't                                            (                 /        t
                                                     t   .      .        _      ,    ,.
                      jjy p p i r nf/Jjpj p pv yjp y Qp yytJ ppl , ( y , f fY                      ff
    'yy.y rrp .y w v ' i    A/ jpp ypcy p             y* p /ryp x p'-           n i y r 'ri mry p
 *      y        ny        p        r&wrrp                           j     v                       )
    u ypyyp          f d 9pzf? pz y,+fy*                             / p v          /ypyyp?
       • t(?0P/ff ; /                                    f>n                   ypfj
 yp. 'te>r»wm»rtf>     ypw& -       . r$ y jri4f '   r-<ny apprff® pp rxyp j ppypr rf p>
    '$<ftoj'& r                     /y ' Qy                  i P         y pppp                f
 <«pft*m ypj ( p *r r77Vryiff                  £ ? / f/ ' y 49 (               (fZj y p
r     <n          f tj / (*pp% fy gpftr*+ >(r) p*                              r*Wp>
3pw l4grf              ,f       f rr W'          mpp rprpp                        fp' Jpyf
      cmr ylf
                   - ry/p 'w Yfj i ppy rpp -k                   t fJ PHj T P- -Pf '
                                                                          ihArjf -d > pyf yy
                    vnnrf           fr    pn4y           er gp,~s - r 'p " ffry'
      or ,
        y.qry                   TpL                      p4               mA                p
    Y'jj nrp .j yy YpZ?y jpv '           yypZo nr >             pj       rvy   yn vy y l @ryy
                 /p4 vP?pyr f AtyppPr                V (yM? j y %/rm4, py nmy m/
SyWJW f                                  rr nrf ILyy pyy
                                                                                        /<>
         Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 20 of 36 PageID #: 20
                                                          r>p               *-fj p \f                 - il
                   .4/r        fyJ'      t       rr   0r       T'      .    J"       <0        9    fW          f
 ar
 ' rop/y/heppip fa Afc v <*7ff (7? i p f p L W j t pp
          m/               -          7               -                &en                     *™r*£
                    f      P''               '            §                  '                      a           ff
- n y ry                fp fp fih v Kp\                   PvWx'/~f              (d       vtf       fp rry       ryp
                tnsfrpp            rry           }-       iQ        -i J pjpp                  n     H
      p>¥f \                                                   cH fr Y /f ~> p r)&{p
                                                                                            W- if
                                                                            vtrpjp t rm pj r*ffa            / 7V3
                                                                '~Xpv yy ~i
                                                                 ") /V \               P pOi                         s s rp
         *      *    -=««=.              |   s       %     J       *    f   t    l   \         F      n     f   f
         pA rayr saC u           ph ] rwyrrr -f pp          Fjp A/tf„ff (ntrrr <vr tnp*sw /j fr                 m/
                    r% ¥              j[p>                p c>A /V                       pJYvyppA '
 Mm -jy                         np           n fjpinf p pf y                             y ytr ry jp' f
  (S           fsj}£g(P<                 j(itfbV0(,lo'F                     jimp-(p yv\j&                       ryif
                    l    WY '/               p rw -v pp                     j.wyprp'~* -'
      mipmyTpfy Y&Ft. \y                     srp. - vv rpxJ' (j*fj)[jP/™Q
                               -i y pp     §Y         pwpyy r 'Y s-r fy' " pV"                      -tsy    'fr-isr'f
                                             [                                           yp         t op, pypy
       <ryp             pny''' ry        ypyr' ry f              ?Y'pppP" p3 iar
       € f rpp. rtp p iZ'A trr'                  yyr      mpi. V / ffipfrt YYr »yr yjyuarrr'P f ~
AnfV <? ?x/p v ten fisy (Mt/jy#                            c pkgpy kmr 'pyy Ap p F f phyL. t n
                f9J pdf ' Ppp Yppr&b? tttppPr (jhfy A 'Y ppy g, sacpr AiSyv Y -g Ampp rf
                        */                       ,     ,            .           «wo51
       pw               ig/Qp /y)/ py *                                     pyP'/py
                   - -y yp Fm - nmy p/' yrry/v rn               p pv tiym?' pry nfrp SyjJ nfpp yyfM /rtY
       y r                     Fyy pf mD                                        m A                  /ffr            d
V P.           £ y i/my °0 >
        -      -     ty,       y sY rr ' x , l y3                           'Kp', ry                  rya )r<
  /~yrv*j(/f
                                      A yhf rdfyy ' yW (                        sp j?
                                         fVn< YP y p jY
               Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 21 of 36 PageID #: 21
            Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 22 of 36 PageID #: 22


                                            ,A t      a   c


      ® '     JL Clmxi       *   } hj A 6> fo+fc&n ii Ul / e d j               zhj   _AAu      &ft        Ui -*
 s.
      5 j        dAiAj-tjMsi       J aAI &A.-S}ne> ) A Zsr l e vv L s A' ji_AA Amaj

          $. 6 t f J      jx ito&J „ „ AAiL            Ca J      z,
            I , Li Kr 9-                    A t v             md A/n dJkxMe}

 •-f                s 33j ; fA/i i / f               /a&sogst; /fj 6 jr/y                     ..

f || $ ¦»       iJfi i/'Ai .v'e /SLi'w?
                       xc*L»vJtv?  <£o/J) &Au£&i
                                          .M' "i C <)*A.<y)
                                                   J A&.m )bOka.
                                                            dd' It A
                                                                   m                           i hA k uJ
                                  Smxm a, ,y If3 0
 If ' , SS'        ~t t r A A      /   jo<a ,0      e xi jyr jiJ!j-J'MAj tvs!u       d    /    ddA          /.




      ¦   *M l*A xAA& d '/jy- AA/R - &j jbl'-*~ f.A dt        J ,imAs4x. 4M-31 jia       Af- r33 ) tdA'

             &4-\ A)eJ&b< /f off AavAUJaa )            / jjt 4 Ce &j <b _ A      a y - J*a -       fA-o -

             U iA-J nj       & JUS A a, J-M               ct £ .m- A&4         . A sA AA JAl o

                            AxAva- jb s/'AAl fy t .AkfAs j yy. 6!»J:C*/~i.S-1,
            ~k- j          .Jl J?/ A jtJu. j                    h S A             Al     -d         pjA
             jJJ&M          X j aM     jA   u j Aa,4JMj j e Al tx j i u>fjjt ~>           '{l.nj4,i)A/d)

            * * Jty j a          oJhjtru *&6i& jsj AhooojuwJAj Ae idx                          j &> ibJ
              -h (SMv iMA A S A . ttJdA                       /UtfJ ,/ Bv3& Ad7A b y                      A A

                                                    /> j'A AAiii- 44 ' Jij s Alifr j mA AAw ddtil

                                                                                          .iirmfAA)'-
                                                                                                 J   ' A'Afftl


               dlr AMAldxSp UJ&aJAyx .AM4je Mff d4 An liJdlAi4uAAA A)AA UdAj
              l )* #* A f}, ( -                ti    Sf\ jQjuCkyn/btsi                         Ao/()(

            JjJj n jJmAAa J' A qjAAjA\ 'M Aod 4x31 %J (dJAMJu j ,wAA JjAv 0
            (Da/Am/ jPyij Jjia/L Am*i /     /%£4 ./ jj( AvALj A .W lJ LuaJf(
                                                                                                      '   .*




             A di iii/iAAL £j itj&r)


                                  o o' A/n 3Si f J
/>rv                    {}nt/i o         . ,     )          * #    ffr       nr       f   r prfYr                 ¦   7
  o
  <                 -    ry                  a                  e        r        f       Aim
         t aVt -(                        S g     / .
ct   Qy 'Au.jf/ M29~>i-ay
                  n       f)£ Tv
                         jcy-rrr                                   n>             f/      p          S           p        _
tfppy J> r p '                   1       wf*vjtrr Whfp ft mryfp /j , r                                   ? w >
     Vry                         ifyOY-                                                            7f'
         fOfi
     * r           <     f f f ii/' u            /                  *        v r/f t           f I y *
fppty                                    r   a-b
                                                       /.                                  E/' i
         \ vvf£) v*rr-?                                                  1>P r &0                                     f
                                                        V/fcw w p              p ppjp- fy          uiyt&**vyw
         n---?2»
                   -»¦           /   <¦          '     t    /       /    (*                *   /         /
     -~ jy c ly y V jp*irx/6 *ry *rvl> p , (p /S0i tt&dPPi                                                        *
                                                                              tfA[ / ]w oj                                i!
     a fyo ytmr                      ,/ «f**/ 7 > j A(g/y pfnfl n p/
           o) T 7/M/0 3r pf J                                                 ¥ Y B zB X I f 3 W 7
rrp 7>
                                             prQ&SfOp P) *                        . / m? nsy y yvpr (pAppAy
                                                                              Jr (        'tafifieo ma • t)
                    yrZyy            Av(p                    n/ rn           < fpy                 <*v                " y
     jy            jp    S           o       ho q) / etbvotijvp                                      7       ;
     c             / jpb     )   err/        , ire y               ff ' (?/(?*
                                                                  nn<{r pr ywy y e p~ £p vwy yrty
                                                                                                             A}
               Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 23 of 36 PageID #: 23
 jLg vy              rin y-            y     rWV/           i/ /    $ n £l
                      jy */ 'Z ffgjd yyvyfcfll t
                        7? t V j       (?*& jpv tf?j> r
  JL*i/        ( r   tprf a        <     o    rrr r*       'ffirrgee      pL. ifyp mn            rpr
fsesrf)          a/ VWW W r                           ?      (r; -p t *rfh*f t p tw
 A/n p p       mw / 4 <ynnpy       yo~*w r>yj_ pmi msSM ppy ry pv inp . /f. j y            o! - >
         yxs ty          yy ¦ (if r/f r                'S          p> pwv         lo jf Vf n
       r (y i jy/ yy&pyinf .p yyry% m \/ ' ph >-p A{/               rY
  n? rYrt4 0          5 r rf > y ffnitd p pp yx y                yry 'A fy (Yr rVY V '    pv trYXy
      p' ppy -fp -f f 'Q 8 yyyrrpjy                    rprfff nm yy rynpppv rrpp p
(pry) I py vffyrvW $() i y) '                     / /ff <) vr<srP         2 r* r - fV'       annfJ
      y pp y y A 0             f*Y~frrQf *                 v?w f Prry#
  ynp Ly/p-f                               fs       wnw.
 •#>/         yyp J y p rymjp y y
                     yyp ?jxf,rp> n >
 vx mnpl,ppy n ry ., ? j p vr rpp, yjP fSS                                r yp -i' y ipypr tr nrpr
        Wti                            iy>rry\y
                                                                         p J pp          f p JrvUr
  -     r fe     3 $p V m              y £ ry, p Y / yy- ~p £ y rv7rry ffAm? p r? yw(/
        p j ry                pypvf/ ymjypf rrr r pyp
 r pvmys vv wy y 0}y P rpp v AW py y                                        p i/rm / y. sp p>
                                                   ' ffW                                 Vtmmf
       .p yr          rr yfp yy n fpfsD 7P ywf /f *                                         ,    «n
   pyp r        P $' o<            r       vypj rY          rc     e- , yr r J ry > * pft Ims
 &x/ fzr ' Lrto9 *ir<nS' pytrpnrir m                       ppy> p( ppm i
                                    rp isr
                                       p            fd {
                                   trMt           r YfA                                    p
        Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 24 of 36 PageID #: 24
                                                                                                                    i
                               1i>VQ(?4 ior l {MO t(( [( J                                        - rr j    Y
  , -y   /   ' (f.p   ft'-'/   ' ' \ 0, p 5'' ?.         r- s-M    -   -rxtfyr: f V
  '-* piyy\/p y -       iiy- r-t nrsyi? ,-fn H
   jjj       p       Asy pe (f /                    f®            wu/rVyrc) f~                 vrffrfty         /
- { y r - rr ft' rprtj &f fo f '6vrrr#ff (/ f ffJyv, - 'M sfj w ffift r y vonrr
 ~v/y £3-<37Ats                 p ~>(Z         ir    ,     . j.        V f   o j ey/ ji - tf pr    -&   f    (/{f
                     c/p        dr) f /Y(? pr fir, g
     r-          , ¦ ' ml f fp                                (y if             yr p ' /f
  /t (?               9$ i £ * /\f#, Yp oiY fSS v/Q
  afZ rrROp I T J> Sd
  t o,           r     / r rrY Y                    ¥*ff p e / nYfp                               rnry
  f prs-r py v? n iifyprt i                    <fvp Y ypy>iyyy r                   W nfr'<hrp\f v-xy fpjj j
   <i/0f                           p£Q$                                         t/<               yy         )
   ryypy y            P y rA oz p yyp y yo-yy                       yi * wy jfz vyyP rv yy
         w rt /yrprt d v pff / pfr - y®v ~ rpyf h rfjYpyzy                            yp y{) yf if      C vrp' Vy
   tY y py o tyv n rry            j ?    r/y,-p -y./nnrfj ,? r rrrty n ~<n>              py y~y      v rnflf~ p?
 <%f yp p x p                    jf     b yg        r t.     w/} '~W rt i rtrp\4r r yr uy             m/) rnwi
   p 1 p/yp t/Y) fipL-fp or fl* fy ypy pp p /? (fyty 'i * Yyp/Vjry ryy_ys ir$Y&y ' & yspyP
  frtpyypyp *(ym 0flyrr iP/S$ Tf } vypfi fls r& y                                                 pyrv p vyy
             ~f s" V            yif      yp frf ryny r*w4rr                    r yy-ifnr     yf-Jb
  rtyny          *- -      rffffZWyy yy y yt) ph>i/y pv                                    y       ppy <r>p
   - C3py'(ypp vYfffa w9 n fxrv y ynry'-ffp                             >9ry > V y-w ypi'< r ywf mpMAp)
                                        vpr jypfs)
         Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 25 of 36 PageID #: 25
                                                                                                     /f
Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 26 of 36 PageID #: 26

            <?y                                                      it' P/lJlii i

                                                                 (':il.i< i



jUu- t /Ke                     J&) X                 ,

                                   ./sn jt jL /!     .>                                                         !«4 ,




                                               ,   . A KJ ft    i-



                                                     !L                                   yt y   f$


        f/g /dto/9 ju* X ld jJiyJuMjX. SQm// J
                        IfJi        -jjA              /n&A                -M mZxa
 %          ytJjt    0 <j jfjjdA            ( X fX J                  cj jp*£r f /yy '-A

    . cf /A&jno-      '/ Ji    _)\&    uA          dX y    iL, »/,J- v. i j .u to A /l               .   a -A

 y M AAa/jAh C ixJJUtJb AwJ« /f udl Jmjvy X ''/cAl, '~fa                             J- M j m-n M/       t

                                   qmjjjmcM               <-y        (SM         . xA AA-i- i> js£ w

    f<2. Al}Xi' JAA xxyJ' Ar\ - J s /A<aXl /jA' d _Jf4 jJ./v )ju i4 AA

S/naJ A Ajs>, -'M        Ah m a         Ajut l A A Us tfsA jlumXLma* J tL«Mj) Jim                            sA&Zi

                                                                     CLA V yAe.                  -cjL         Aft.


                                                                                        y AS a A d yjtX i«
        J      »/ ...   «. . ...    $A A«Xy miJ



    lt       ji vXy*,. 0 \) (l,? &off) J $/vm> l

                                              'Jr / / >. S c jlj <Jm&\ &\ , . j x}-). - (A 5 /A A/Wmi

 diLfu * ///          juu th ~AJjl. fjijjzgA 't o &4 / jMy. A ydAk                               ycf jAu 7X
                  <>d/ JeAS)    t l J GauAQ           //A*£A . d              AjiAs- Xty t i , A '* A* yA~yA*~

     i&< tAlt J. 4\ /yfy ft 1 A y i            v -a M JyjL jX V XI A-C

s    i ta-t » (i / a/PJMiJ tA S-y SfaA A .A*h 'J-t-Av M                 <l-L sM*.X;. <>y,*. Z     " /

 Ay ytAj J\ MJ X - t > J 6J MMV~ -A A/o , X. fcjA "hXA Jut/ cj </ - JytyAjlM&/kiJ Jw G-Stt XI

    \       'tthi. X%     (Ay       jfJix          flesi<-Jl i *- J A j

JAfts         Jtuj h l?-       /(l<stA't*- > ' f ~ {f ,/iA\ /t ) * <                              " A&Ml

    > -£ J.Yl€i bA j i y1) J /X /fAk -Jni ' (Li A t 4            jy)j>y~X~il A        CCjAiA At" AX A si         -i.

    ixA      Xjj il j.- bjilX iLi o/iAt , i%!/i-</) '7 - /' A' Ax jtJs'i- ii si
            yrvrf //O                                       ff n i v-' rr                                Z , .
                   'pftf 0/ r * '*                       4 h(               ' f £ r       &r A p e*rf/(jp
                   'r-C YV'
                                              r"             o*            s       Hi             n          .
'.-    uf    '    ri       / e i     fi sry fr    p yr}      * fri>~'       ?j) ,ryy* i?/ r1 7
      { V    pr ijiO        < -VT? j fr rj        y    ry/ f f p       r'p/' ' ' r f 5 rif§f*xf    /' , <>r fv\/ p>
      J      ypi,VQ'ry                    fhv < >                 r/               * ' >0~&b!4k>g                 /&
'f sy fq
                                         y tr         n/r    p     - y             f[J (« ) <'ydfl J            > j r,
      *     p     f    /   l/l       w        w   /«    f/   i?        :       t    ¦~
                                                                                    sympp ty >Tpr-t*
                                                                                             - •
                                                                                                     w?)
                                                                                                   ,~~r      f'   y    p
                       jpnrfi Q               f (Mrrr a jrry/ ff/y t&«rjh y?p fPFf
            -Yr*/"               y ) r*f          pl!pjyys> (f - f                       p        '4pr   r   Q 'fef
           Vr py t Y                                  ?7           - ypl{ 4                   yp             /po/
 '         Pff ff?                 lp- f / yLfy r0 g                           y nr, (ycffiji y W p /
      '-         PO              i       *y7rpr                    ipj yfs               jt       %i i 7i          jr&
                                                                                                          x f          (f
                      vjk
  fvdp/
                                                                       YpJ7r vwrp ypP p
s f y.
                                 Uy) nmf ( y-yi f
' v jy o j/<Ypp                      7> p p
  < yp nrurryp                                y p d rwi Y'                         srpyr r f          rYppppnf
                 JA              q>           r/       nst'                -
 *         Mtyp f -<rr»p ny Y                         pp U , V Jpkny Jpf ppp                       yp&*(r)-r pp            d
      rv     nrnnmrf               (,/or >/   a? 9JT 'Mr / 4               '/®f y 'p nfJ.p y . (a/pnIn/ ~*      jp rjy y>
  ,}>jpp/p p>»v                                                    r f jb v                  ppprm i \/ p
                 Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 27 of 36 PageID #: 27
                                                                                                          rr
                                     K*?? - tL,                                                   -'r yH W
      (7* C 3&r> - /                  r>-& -        *   £27J?           rf -?. <     y(p jb ir    W   y    /Q ?rxy\4.
                        k >,~y   ir i/ ,ft {/ p )   f T ty.ip/y        t P     pkQiJp) ,,->&i       «< ?(?   ' yT    p        < ]7
    f;:f.%       zytf
       >        ,-' «'-          ?c i?         i/y.y pt/f            rf re f'yjy *     y Li l? l /)~ --s      7> r       p
        y jp ro jj pr                k     }    ~? vyJvpy i£- , i> r (ntt0 ) b( fp nfvmj &7y y\ r t/ 1 hy $y
j ipy 7/ T' rvv {?_$ -/(,g*00jfoy                                                           J7        r i .y} firr       Q q/
 *> (to-           y f r<«/ !}i* §r ?\s« £ < y--                            fi'JJy   y /py       ,.vyy,?    / ym Py pf jyyihA
      ' '//L~'     f/G' i l?x> , ' -> 1/? n- y J* iyg/-/<rv y - p ryy
 C•    .1 ' y
                            jyy 7> (ijp''ncy 'yi                                i p--
                                                                                   . n Kr     yp
                                                                                       c. fyr&T ?y -4 -
                                          'r«\ fry - yr y
 yt-w y / Xjn-np 51                                 v'ff     -'( ?b//)t>c>/? z?r w 5 cypi>
~     * /-_ (ff1                 P '! ?c            t~rr       yr n-p y -fitd'ry            W     Av isrvr j prr iwy J
-(ymyr nf (l/Q ;/(J s t ,p f»n/ rrf jy , <? rtyM AAmf M/ pyfyy ay oy/
                         / bV /ThtcZZ0-4 -'yy p p ,SP- / -                J
                                                                ' h.tJ/ irasrf'
                     ' jH
                 •* ifth P Hy/ y7rnn m yp/y n > ni\y y i.
iyffppJ r H m fj lortnjjfc                          Qj              otp i Z     ypyyp'firpx Pi Zvi mry yg iA'n / 0 j -
                                         » - - t f- _ y f ?r A                       (Ty     r * * \/b( '       yg.\to       rgf
-Jpprpn                 fv       r&Z) -         tM        Ypytrrnt y y ui/iy yrg                    ffy jy? \ty ur/v> x>
 0y.0r ry 0*                              py yy) pp-xy                               j y Q -d Yyb vvpy                         y
r>wry</* >y r < y [fpwc                                         p-     r/y * pvQgyt '
                                 jpTr>/                                 '      /f      J     ~~
                (p       p*-t(f yyp.Q ' Pf'                                          w t>        ,' yt ?yffrTytr?
 tfc/fo/ yy,y9 4 yy ff y y fv' yy pyyy ' r (p ° yp i4~                                                          yyy >. >/
  (         xyn/r0?y) r y sJ reynXi py ?nr < ~9yy fe>                                                       r ymf Ajb'yny?
                                 h rzv ty > (y¥                             x wy yy (pypys ' yy yy y ' y xatt
       /(/o yy /                         xpy / ? "( pi/p                             xypyY/y f p '                  f p pp
                          up4 .y rr Yr 7J pf-fyg Apy&i opov p \W j nnrr
      pywv y&n-y pc t nrY - pi 'rpp ts rrr c                                            f    >OV fVpv v lyps pjpffV
                                                        rX>' W n?
                                                                W wwbwi f'
                                                                                                               <4
                Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 28 of 36 PageID #: 28
     Yfl          Yo&ro                ft i ! n ' < ••;                       r f() J (7'e*Ten fy
  ..r m/fji f- jfy          Ur/ '-     t t -        ' ? £    jp       \ y y O fi .-f V
 -   r    s      ny         .   m    -t/trj             ni-'                  (j         '--',-'            i%y       ®
  jc         -      y       -f * * &p-iXr>fyrff             -fi l'iJ" wfe x< r9y l                              vff
h)     J. ( p           .«( t-r)- )        <-~r , ¦
                                                         7     P  .   T   w                  17
                                                                                         if rrt             1   *     1   v
                                                                                                                          r
         faP)f (A MOrp jyp              y       pr p.f-Q              Oin / An            -mry              fiv nr/
       > y / /          ,       jSru'y-
     fp ? of- n'>-/ T -f\rTr i ppmA. >p T          O7 - H/ - .:y - 7y<             .-np Avyy /S£4 , n? p> y
       V -7.
               very' rep- ( fi y pp. ' y yoy
:aw/yp o, p -yp/ypp/r 1 /J/y -q-jyrxh f '                               'Vri/v.nyv- yS -Tspn t!
                            pP      enalt r         yr rrtxr n>r                   iiy   l    (? Or(y (                y/g
.'Cjl QCttO t' i/l/p y\ f> y' /eyp .£? -'PO
       i Pyy \ wy j} 4t JS p v/y r                                                                                  pn/'
         f     QSS&BSr W i Fp rf n><y/tp,j p                              rvi r- j $np~
~ s jpev xnn / ip                y y / -           // -S/& w '        * ?:-?pj >fJ/JOJlJQ                           fWty>      0)
       oPvp/ n/i ~yy ypn ry                 yw rr xr p . , /? y pA~-- f>p4rf Pv Mp -yb
         r i/     ffy n     £y j x f    l-t-j      , /prx~ -r,y           r
                                           rt        ~~           f    fi      f     "       '       it-
  ' fTrrn/i tf j (pp (j /f p.- -'i-r p p-rlpyp} / ./p pT Sn               ry & (tr',f/ f jy/ np{
  r Y'V rJp                     A    >'p'          'l' f)} n>p7'                   nyp rryp-                     rv
       rp         .yr* - -py zpty/. y 'Afipf                                       ,(     /p * A-ms py
 jpr\ tjA)ayr iy/ip a/->y y yj,y y                   irY /y->ppyy yy yp pp. owjms Jf 'ir r Q yY
  y?-yy~sj/ y' ~tivijr ?~p. -ys f ( - .A .'ryj ' (           vp - (f fino iyy' Ai vp>yyi>e\/ <-4rf ' r(y \Qi
 Xpip tsptmrtt/ ty               ..- p ryj- y yp ppm y <~*~v>-'(<5> j rpyy frwvy
         /S ,j rY               ppy H p ypp                 zpyyr             ry -*          n Q/o ld/S t /®
f?c >/7 ryp ? 0 * dcttf 0/p ''rpp. p ' vp yyp p rr i Pi                                      • AM
                                                                                    l r r /uj/', V.-i T 4             ipf*1h
                                                                                                        ? Jy
     p f r i f/- y->-*4
     /'S / -y /> iY                         rrf        M[pjV n,xr ryp yMp y
     'I Aj'p/f nyy yt Mr                       p     ypyp/p - yw/ A . r y/-yryy
                                            T/X jy CX Y Cyr Y/ ll Y
                            ZYZAA A                         Pypp) - ZYyyyjy-                       /qSj
               Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 29 of 36 PageID #: 29
                     ?p T   rl,   '/     nr        -?\/              f/       iT/            f      p           L&j
      (/T'rvro                    pi -fjf- '"     'Jt'7r Xi:t' /7 i/'f.pp         /¦ «'    - p    p - i . r? ?
                  pf ( ' p mppp->                    Y      f ,/avot     o >         rv ? 7fl/, 11 T oy                  gffY
              fY',,,n                  y f    ( ¦ f X-       X r>r {/~rrl j                i/iw.         i nr/ijb
                                  $i f fi            j    <r?n            7> r              v        n
     »r/(}{J V i fji/ -                           fy-M -sro ryy flyy y                     yf y v-v $ y / ft i
yv f Jp                      iyfy JP yj              y/r yx D y yy y               y , :>sl                  ?• ' '''f 'y Q
"(V-w<<yy ' ohbllMl t,ft°$t0 i rs // S/Q                                                  JSffrrt )
                                  .i    yy y         ,*«y y rr           s cn /yr y                      py ry
                   cf        > O             ' t~'         jy       V     f         1            (Zffr,y-> -#'
                  rTX?>1,
                                                         rff y t                                 ' 'st   ?    s tt    y rpry
                                         yjyyF              <> yy'            xm y fry.. (, ¦---¦;
     f' h     1
                            y,y ft m yr y                 mvivy        fAb - jsyj           y y f oy yy rJ                     y
          r
                    1       (y fay/ x / y fy      .y jA *Ml Yf rrrj~ <7 < .T--£ > (! <- -<?>t? yy jr ? r w y
pyy:~ y y>                                          y > xy ?i 'y                  fy/
y&f r* 7*/ -                                 ,.     ry      yry      n-~ > z>               yp.J              Y                '
                                   * r r y y¥              yrp yp/            f6. y:9J?yy                     yvs r y
/ ? ?                             b £,y y/ P                       6yy y y y(syp oyo                                   n y
                                              y yy ? - o- yyf fp ,r nrr                          /r ry           * y wp
                  (rry v / / J /n J /4 y YP7]) *                                    yyA y yy ymyv y
     :.
•s
            <{nP p 'ffljjy r ,-y yy ny                      vy Y~->n 'Y. yAff 'v<r*y         r/ y nn$> )fr\fr? o<yy
 1
< n€t/
              rf r                      Y i r              t 9         r y (f/ /e/if                                    7
                                   FyyJ . p rj yr vf
                            yrmry4 YW)t y 'js[<»ij- >vmQ YfS r fr rirtv                                              tv -ytey
                      yyp jyr>P              r ?vt4nrr          rrrnA -       y       <~fy /y s              -/ y     Vt-A 1
 n                    ryyfY                  <r    n       A        ?yp firyrAv                     frrpp p                    y
      (rmy *-y v                                  .r r/b /           J        j
                      Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 30 of 36 PageID #: 30
                                                                                                             y
     Qsoli® ioirfii( ( /of l({J <             4      l f flf V)r f
               M, / u?2pr<rT 4 r / M            tfifrrrv yvjpr*
     § F¥W?b/ vf* r fopfc Mr uv- tfop
                                       Tfpf TYpp p v j-jjt yi
           r   rmj ff p          jpr\i
                         Tn       ff     Wr /rf An                 j    tp      *
           •   _         w         /     r    w           (      rpy            Y
       yrrt L flWx? ry-' iy?) t Z -v   ' vy Ayrjf Prn/yygyy-y r y yywvjy'y 'v<>fe iypfrj
 '(4?             'Vly?                r   >       fryy                p    rri/4i
     4p n4/ f'e         y    r   ~ p m yr '             ~ pg
                                                                                        y     .
                                             yg trg s        yfn
                     Zf V                              / %f \A
                                   4 /6/ /                       tj V-P>
      tcy <pvy                   &? mf              vy pi                  ywrfr p?
cn*& %hi f tyf/          x f pir wwyi '           yyyj           / j fQ Isj f JS g9 Q>
                iry ¥p /()        f)P1 ~          -r nrfryy *yy nf               <      r   v v
 t    qp   ryyy: / f yw fpr y l()Qi?l jc>/f» yp efv.t®y                Ot)fl
                                  nyy j d
                                                                           ~=r ry yrT
                                                                                                  f
        Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 31 of 36 PageID #: 31
                                                                                                 \
                                                ;:>yry y, f v                q       £
  X       fR P                      fJ               / ( y             y/ rf y ry
 fppp p        pyy yp yp j y 6'                       pf Ary yy p ? giyy                       Y
 W&t rvA' yysti<Tk& ~.              Jl    J onf '4 p ary'/ p j) /-yt y               j rpnMtdpyf
 pp'Xpyi       Y vny .              y    jcy         rtpy*        y nr    kr     -rA - y, 'yy
 QO' Q0 O't yi-t vf ¦ oy           f?A p T jyyy) p
   TB M t *vV -r nyQ y -                               T Ay Viy                rygzffi Ho
    ,iiyrf* rz «V'f >p yyj yyvry< rv- ,(y7rAA)                           'rn rv )
 pk -Ap        yyyW'           Pi - Jrryi hO Vt y yp - y ,§ypjf'                               'r s
   y y      ryy.       nr     +nyy r f/o* yrj v                   y&p™JLrfd                     /rnr
-jr»*p~> «+<ijr              w /rp}Z f PW i'TW 'W 'A1                                Vf'ldj        T
*/ it Qfjlmj&f kyi yyJwHmxpyy fAp smsY y ii r- yp «<>Aj yyJ y r y'
 Tp     > xpymw j               jbrj j ypZ)$$r p) p- 'pypppf - \ )>
  fF* (        rm f            TPr (/ .qp ooef                             syy
                                                     rp rP    iy p {yjl' y~vp .
                   \ $l'>f>3QyVri ' 73 /zfr y ft- mA /nyynmy r yrrrp'A pi>A       m Zy- f
                                   fjf • --r-                f-    y frwppy 4 0'
            yyycykf} , Wr()o -gos fgf y                           m ,o0g tgf             fy   py
                                                          tZr          pTr       /t -         ? rfy
  kLn/          ymAyy                                    -rho
  fyP y Wc?            ~ tey>Tj                       p'ky         f   0/ArpL rfry                 y
   yr     . r rr      p v pmpi f' s y nrF f' ry                        sy f      /    y dbv p
                                         <                                 *
                                          *•*"* fe
                                                        ynpi ppyry y p/
         -M 'fppy fy ;    nr 7YW fpy~y n j J J n -nriv'f
                                              /      rhrp:A
      Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 32 of 36 PageID #: 32
                                                                   li{? Qi?' ooo fS f
                               - f P yr         unr         ar 000            v           sp W p
                                                            p fj jprjfd     utQanrf-f MY t w
                                                            vrp. rtwroW j
                                                                    p. Jp   , rm > > ()         pApj
- 9              pfp           /i j y p j?m/k                                     j?
-         V      v      ?ppYAv ~p                           vtrp         rfi fj/jp r            n p
                 T p?p U/7 \toqfsfrw pr W                     ffp ., > -«y        m>> p r w v/rf
_.   y
                                                                          s-i mp., {/gja p*
     r p pp      rs r   ift    ip)    vv     r? '           &<?     00        i jj       pv
__            j ..   - €      j ijr     p     -     i       ka      p ._.         Tpfy'
? -° yg£ M7p
                     / /       ¦
                        /
                                                              ft        frwl(9 m*
                     Tmoj y             pvo             r   sv+ ro            p
                              y . p#w&2 .gy                        p'       p/yviy pw' p
          ¦ */yy>          iyp     'yJw p cj r                     ?- a<7 *              ?<? Ja
                                     <-fO/0VO,?(? (S ( /< <> /pvr '-
                                                                                  (p y *0p           gr
                                                                        „/ ...           pir ai
                7Vyt                         ps                    iys          v         i
                                                  < UipVj
                                                                         P fy jp yp*rr j
     j    fp-                 w -aap a/                                        ;) -<'/   Q&'aao f£
                                                                                                      rr
     irv ' -
         Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 33 of 36 PageID #: 33
                 * J(?*u (fp       ii nfJ xff - j
' jW fJ      f      (rym ft          r?mnp, m?                 j? ff rp fb{m Imip w -n
     ifr W          jik       ? j                rmyc ro f                      rw m             iif       .
                   ' 4             * n7 UWr3WW
     ¦»       rr? It/t        Vt            /        r?    J n        y    mo y- ynn J>Tjp
a    ?            yy          v             n          <fp                  p      yy.                 y
t 'ypp&d yyyy y. w y    T / TTy pyfp ' </®>fnr\jy fj/}i?              ,,%/o/ vp_. 2p?     v ,t*yyy * iW
  Ivp rf j myYV        fj .    fyrP    &ry       '(>        - wy y        vnri/ pJ P     Vpy)
        Ay/pp- yypy                ' p py p                 rp f TV1'ppff
 ZpW        p SirZXjC              lry .P: /Bp(77                    rtrJ    Af -p         y? rp p
 P y rf yry e* OC                      QOO                hnrvp l ppyipv
           rry
          9 - rt/' 't ysy     fy y f j T    0y-f.% y o?Y             j .nrnOjL - pyp     yrynm fy wrY
Y r/V ' wtx/f     ry <£zyp pp * y n< r?y y                 ryp y j?p IpPp W} yy yyp y A/v
                                                      sMs®-,// nrf
fWFT
 r p      ig yr        0€?            St        p7 ?            S      *
                                                           f         V                           V
                        ?pjpp S             '** 2y2ZJr*p%[/~ ? ifT y rmr ry                                -
     yy           s     yfesf                    (?7'                             (p             p-
    ' /V t,?ip t4'&9n4i        yvrrr       p ' spp> fyTmy -&p g yxfp . p py                        iLvy
 *<&>        tnpy       fft'Bff pry             Syyjp Tnf pJfY pvvv PT
    y y /v y0? sv r ipt) n ppi rrijy x r qo • 0 00 ytarp-
                                                            -l p, 9 Y pT fpnyr 'tp) p n? vtif2yyppvY'
                                       fT       yn    i Sy py t/            J>y        rp L    ppT p
                                                                                              /wrvv< rpp.
     U       i' Hff             7 (WM YTTp ' p
                                                                                                       i
      Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 34 of 36 PageID #: 34
        - S. DISTRICT CfflURT
 CaseEASTteN
      1:18-cv-00094-MAC-KFG
             DISTRIC OP TEXAS Document 1 Filed 03/01/18 Page 35 of 36 PageID #: 35

                                                                 fis *
           0CT 3W £xUr-f*/,
                                                         /
 IS)              JIMS)                                      &
                 7          (2           t      '

     UM                  dA A                   A*                   e           t b J&i
X Aj ttW\ 6C u        ~ yOP\      st-&jy+vi4yi*jk'       * * t, J djt-       2 tor t/ybyy j

Sbd l &JL e MyZo o L ( a                 £jJLt qI As           - a JL ,

                                                                                                 * * *

                                                                                                 f.

                                                                                         AJh

                                                     r   .//                                    Xa f .

/7) /Daa& IgA iajJoa g /}/j<x m Sfaby / ajei$ ( )
                                 X/hy lf      ) <QAt* J > . * 'i4XSay
                       -        X        L.              tSirj                   otjS)
                                                                            u&-<x*


                                                                    V"                           S hA -

                                                                  jUJTHls

      t (Sj //)S                              Ar i                  loo )$ *
                                                                               j jts *yiG yf~     &<yir <i

                      m             .        %                 y         l               (Ayjt A yj x

y t - S b - Jljy * i            y l a)Sj2 X <%Z& yf yy) m X.
           ,      L    O K/ ~ sSjl X)A y ) jL v< - k

                                                                                         (JuMSSyb J.J?
                                                 '-'Jlff            y tn os » q l *

,x     1 "7: Si ijj Jf J.3JJo
                       a/jaA -M -J yJl yj jS if e <K A / yAAj
y ttA <A                /1 a         J. /, I             I      7 j> r- t. / *»


        £ *sjl.                              L/ J>

.AeA           A        y yAJ                liAAi / < ry                            -
          xc      tw             / Jij   Si t& njii h.
/.
                                                                              r/y & IF
 Ffp /? fjb -Ap rve                                          jpn " 4 V r 6f°?/? *
 ' j     n rS            ? r      V- y tvm f'                 yy        7     e &Y Y              f     *     Yl@t
               ~4sy r*                  rpy rrj -             * * f* '        n    j pf           fY-          '
                                                                         ffy7/ r% Q/                               L
 > ?7 C                 wiy" r?-y yyy - a/ -Y srv&y ff v
         (f /J             m &yWt/                               rtO sr rrJ/ tr ??
x ' kf UG y f //           jy7     n/ \ 0W? /' iff f n ~ rY <~ymfyi t~A p> jp ry r j J vv
                                                                   y sPyp D
                                                                      ( v                                     Asr r
                                  .                                     Y
                           /                vrw Y'fxy                              p          r               pq
     -        /y              b J prrwy rr*Yfpv 'eterf
     <g prn ft?p/ '-(                       y*y?             &ry     pp       jfff\Are-/              rp       9\ >
     Gr/1 3 **rt>             d   . r   V
         <    I? P>                      /y /       p xp i
                                                                   ry pp4/      /f p&yerr t- r pry ty
       prp '*cn™r                               '       ¦y              r     Y    ,tyYw u/
     y       / y.       y 7    ywy       «-t        -   ytm0f\     pt n n     p ° 7ri7yj J        yiA ff /f q/J
                                                                        tf' n4fp?Y            * t pv-vxr pr/
     ~ 77/Y Pf                           yY 1 (P                     Y        tre -            YJf th
                    u
         s pyp )                   Yo               er       «L<A l< § * ypwr p p pyri
                                                                        ~r     Y          f    ry
     jY p /Y ( pppz rf ?( ff gryj/t fo yyp <4 ( j
                                                                    F
                                                                                                      „ B J
              Case 1:18-cv-00094-MAC-KFG Document 1 Filed 03/01/18 Page 36 of 36 PageID #: 36
                                                                                       Xnll
